                    Case 2:00-cr-00445-JAM Document 127 Filed 10/22/07 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
               RICHARD GOMEZ
                      (Defendant’s Name)                                  Criminal Number: 2:00CR00445 06


                                                                          DENNIS WAKS, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charge 1 as alleged in the violation petition filed on 9/11/2007 .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    UNLAW FUL USE OF A CONTROLLED                           8/20/2007
                                     SUBSTANCE




The court: [U] revokes supervision heretofore ordered on 6/7/2007 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.




        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                           October 9, 2007
                                                                                    Date of Im position of Sentence


                                                                                         /s/ D. Lowell Jensen
                                                                                      Signature of Judicial Officer


                                                                     HON. D. LOW ELL JENSEN, United States District Judge
                                                                               Nam e & Title of Judicial Officer


                                                                                                 10/22/2007
                                                                                                    Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:00CR00445 06                                                                Judgment - Page 2 of 2
DEFENDANT:                 RICHARD GOMEZ



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 12 MONTHS.

         NO SUPERVISED RELEASE TO FOLLOW .




[X ]     The court m akes the following recom m endations to the Bureau of Prisons: Placem ent at Lom poc, CA if consistent
         with the defendant’s security classification and space availability.




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
